                                                                     Case 3:22-cv-01056-AJB-AGS Document 123-3 Filed 11/04/22 PageID.3251 Page 1 of 3




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                                                                          13                      UNITED STATES DISTRICT COURT
                                                                          14                   SOUTHERN DISTRICT OF CALIFORNIA
                                                                          15
                                                                          16 BORREGO COMMUNITY HEALTH                   Case No. 3:22-cv-01056-AJB-AGS
                                                                             FOUNDATION, a California nonprofit
                                                                          17 public benefit corporation,                Hon. Anthony J. Battaglia
                                                                          18             Plaintiff,
                                                                                                                        DECLARATION OF DEVIN M.
                                                                          19       vs.                                  SENELICK IN SUPPORT OF
                                                                                                                        BORREGO HEALTH’S MOTION
                                                                          20 KAREN HEBETS, et al.                       FOR LEAVE TO AMEND
                                                                                                                        COMPLAINT
                                                                          21             Defendants.
                                                                          22                                            [Filed concurrently with Plaintiff’s
                                                                                                                        Notice of Motion for Leave to Amend
                                                                          23                                            Complaint]
                                                                          24                                            Judge:   Hon. Anthony J. Battaglia
                                                                          25                                            Date:    February 23, 2023
                                                                                                                        Time:    2:00PM
                                                                          26                                            Ctrm.:   4A
                                                                          27                                            Trial Date:          None Set
                                                                          28
                                                                                                                                        Case No. 3:22-cv-01056-AJB-AGS
                                                                                           DECLARATION OF DEVIN M. SENELICK IN SUPPORT OF BORREGO
7270289.4                                                                                          HEALTH’S MOTION FOR LEAVE TO AMEND
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                                                                           1                    DECLARATION OF DEVIN M. SENELICK
                                                                           2         I, Devin M. Senelick, hereby declare as follows:
                                                                           3         1.    I am an attorney duly licensed to practice before this Court and I am a
                                                                           4 partner in the law firm of Hooper, Lundy & Bookman, P.C., counsel of record for
                                                                           5 Plaintiff Borrego Community Health Foundation (“Borrego Health”), in the above-
                                                                           6 entitled action. I am licensed to practice in the State of California. I submit this
                                                                           7 Declaration in support of Borrego Health’s Motion for Leave to Amend. I have
                                                                           8 personal knowledge of the facts set forth herein, to which I could and would
                                                                           9 competently testify if called as a witness.
                                                                          10         2.    On July 19, 2022, Plaintiff Borrego Health filed the Complaint in this
                                                                          11 action in the United States District Court for the Southern District of California.
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                                                                          12         3.    Borrego Health seeks leave to amend its complaint, for two reasons.
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                                                                          13 First, Borrego Health recently discovered additional information which is of vital
                                                                          14 import to this case and which will likely significantly affect the motions to dismiss.
                                                                          15 This information deals with payments made by defendant Premier to a “consulting”
                                                                          16 company owed by Bruce Hebets and Karen Hebets, which Borrego Health believes
                                                                          17 demonstrates a “kickback” of funds improperly siphoned from Borrego Health (and
                                                                          18 Medi-Cal) to Bruce Hebets and Karen Hebets. Borrego Health seeks to amend the
                                                                          19 complaint to add allegations regard this important development to the case. The
                                                                          20 “consulting” company will also be added as a defendant in the case.
                                                                          21         4.    Second, as part of that amendment, Borrego Health has endeavored to
                                                                          22 address concerns raised by the various motions to dismiss. In the interest of full
                                                                          23 candor, while Borrego Health attempted to address those concerns, Borrego Health
                                                                          24 doubts that any of the motion-filing defendants will be ultimately satisfied with the
                                                                          25 pleading, and expects that most or all of the motion-filing defendants will eventually
                                                                          26 file another motion to dismiss, though hopefully some issues will be eliminated. Of
                                                                          27 course, Borrego Health also took the opportunity to fix any typographical or similar
                                                                          28 errors discovered since the original filing.
                                                                                                                         1                Case No. 3:22-cv-01056-AJB-AGS
7270289.4                                                                       DECL. DEVIN M. SENELICK IN SUPPORT OF BORREGO HEALTH’S MOTION FOR LEAVE TO AMEND
                                                                     Case 3:22-cv-01056-AJB-AGS Document 123-3 Filed 11/04/22 PageID.3253 Page 3 of 3




                                                                           1        5.     On October 24, 2022, I sent an email to all of Defendants’ counsel: (1)
                                                                           2 outlining the Court’s October 6, 2022 Order (ECF 100); (2) detailing the new
                                                                           3 allegations and proposed changes to the original Complaint; and (3) offering a new
                                                                           4 briefing schedule. Borrego Health sought a stipulation for leave to file an amended
                                                                           5 complaint and to the updated briefing schedule. A true and correct copy of the
                                                                           6 email is attached hereto as Exhibit A.
                                                                           7        6.     In response to my email, a handful of Defendants’ counsel agreed to so
                                                                           8 stipulate, another set asked for a copy of the proposed amended pleading (and/or a
                                                                           9 redline), and most did not respond. On November 3, 2022, I sent a redline of the
                                                                          10 proposed First Amended Complaint compared to the original pleading, and
                                                                          11 informed counsel of our intentions to seek this Motion.
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                                                                          12        I declare under penalty of perjury under the laws of the United States of
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                                   SAN DIEGO, CALIFORNIA 92101




                                                                          13 America that the foregoing is true and correct.
                                                                          14        Executed on November 4, 2022, at Los Angeles, California.
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                                                                                                                         DEVIN M. SENELICK
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7270289.4                                                                       DECL. DEVIN M. SENELICK IN SUPPORT OF BORREGO HEALTH’S MOTION FOR LEAVE TO AMEND
